Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 1 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 2 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 3 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 4 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 5 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 6 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 7 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 8 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                          Main Document    Page 9 of 10
Case 4:07-bk-01578-EWH   Doc 1224 Filed 02/04/08 Entered 02/04/08 10:12:53   Desc
                         Main Document    Page 10 of 10
